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   EXHIBIT B
            Redacted version of
                document
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                                                     LICENSE AGREEMENT

            This License Agreement (“Agreement”) is made and entered into this 19th day of November 2021 (the
            “Effective Date”), by and among, on the one hand, DraftKings Inc. with offices at 222 Berkeley Street,
            Boston, MA 02116 (“Licensee” or the “Company”), and on the other hand, NATIONAL FOOTBALL
            LEAGUE PLAYERS ASSOCIATION, with offices at 1133 20th Street NW, Washington, D.C. 20036
            (“NFLPA”), NATIONAL FOOTBALL LEAGUE PLAYERS INCORPORATED, with offices at 1133 20th
            Street NW, Washington, D.C. 20036 (“NFLPI”) and OneTeam Partners, LLC, with offices at 1901 L Street,
            NW, 7th Floor Washington, DC 20036 (“OneTeam” and, together with NFLPI, “Licensor”). Each of
            OneTeam, NFLPI, NFLPA and Licensee is a “Party” and collectively, the “Parties”.

                1. GRANT OF RIGHTS.

                     A. License. Upon the terms and conditions hereinafter set forth, NFLPI grants to Licensee the
                        right, license and privilege of utilizing the Licensed Materials (as defined below) on, and/or in
                        connection with the Licensed Product(s), the creation of Licensed Product(s), and the
                        advertising, marketing and promotion of Licensed Product(s) (the “License”). “Licensed
                        Product(s)” means (i) NFLPA Collectibles, (ii) Gamified NFTs and (iii) the Game using the
                        NFLPA Collectibles. “NFLPA Collectible” means an NFL player-identified collectible
                        fantasy football digital asset distributed solely on the Company’s digital collectible
                        marketplace or distributed as otherwise approved by Licensor. “Gamified NFTs” means NFTs
                        (as defined below) that are used to create or in connection with missions, crafting/fusion,
                        achievements, collectibles/collections, upgrades/‘level ups’, leaderboards. The “Game” shall
                        mean a NFT-based game in the Fantasy Style Game (as defined below) category and Daily
                        Fantasy Game (as defined below) category. For clarity, Gamified NFTs are non-exclusive to
                        Licensee.

                         NFLPA Collectibles will be made available to the consumer individually and/or in packs, and
                         shall be created solely for inclusion, and shall only be capable of being used, in the Game (as
                         defined below) and/or on a digital collectible marketplace.

                         Each NFLPA Collectible will (i) include an approved NFL player image, player stats, rarity
                         level (e.g., common, rare, legendary), and (ii) be tied to a non-fungible token (an “NFT”). The
                         NFLPA Collectibles will not, in any event, include any NFL-licensed game footage. Visual
                         formats of the assets comprising each NFLPA Collectible shall be approved in accordance with
                         Section 7.

                     B. Licensee agrees to introduce and sell the Licensed Product on or before October 1, 2022 (the
                        “In-Market Date”).

                     C. The Game will include standard game mechanics underlying gameplay on Licensee’s
                        website/platforms or other websites/platforms approved by Licensor.

                     D. Gamified NFTs may be integrated into Licensee’s loyalty program or used in connection with
                        a Game.

                     E. The License shall allow the Licensee to use the Licensed Products to the full extent as set forth
                        in Section 1(A). The License shall be: (i) non-exclusive for the Gamified NFTs; and (ii)
                        Exclusive for the Games, but solely to the extent (a) utilizing the NFLPA Collectibles and (b)
                        Licensed Materials in the Fantasy Style Game and Daily Fantasy Game categories.
                        “Exclusive” means that neither the NFLPA, the NFLPI nor OneTeam will during the Term



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                         release, or cause or authorize to be released, or license or grant any rights to any Licensed
                         Materials for use with NFTs in connection with any game in the Game category. For clarity,
                         nothing herein shall prevent Licensor from licensing a third party to produce, promote and/or
                         release a non-NFT-related Fantasy Style Game or non-NFT-related Daily Fantasy Game.

                     F. Sports Betting Utility: Licensor will work with Licensee in good faith on developing strategies
                        and plans to create revenue generating opportunities relating to NFTs connected to or
                        associated with sportsbook or sports betting, including, but not limited to, providing Licensee
                        with notice of any negotiations between Licensor and a third party related to NFTs connected
                        to or associated with sportsbook or sports betting no later than five (5) business days after such
                        negotiations are first initiated with the third party. Licensor will use good faith efforts to include
                        Licensee as a participant in all Licensor requests for proposals or other similar evaluation
                        processes related to NFTs connected to or associated with sportsbook or sports betting. In the
                        event the Parties desire to jointly pursue opportunities related to NFTs connected to or
                        associated with sportsbook or sports betting, the respective rights and obligations of each Party,
                        related to such opportunity, including economic terms, shall be set forth in a mutually agreed
                        to separate agreement(s) or amendment(s) to this Agreement. Notwithstanding the foregoing,
                        and for purposes of clarity, nothing herein shall be construed in a manner that obligates any
                        Party to enter into an agreement related to NFTs connected to or associated with a sportsbook
                        or sports betting.

                     G. Metaverse: Licensor will work with Licensee in good faith on developing strategies and plans
                        to create revenue generating opportunities relating to NFTs connected to or associated with
                        Metaverse. For purposes of clarity, as used in this Agreement, “Metaverse” means concepts
                        related to ‘Gamified NFT’ such as ‘create, train and trade’ product (user-generated avatars can
                        be accessorized, trained, ‘bred’ — power ups, achievements, collections, micro-transactions
                        and competition) when used in connection with a virtual and/or interactive environment.
                        Licensor will use good faith efforts to include Licensee as a participant in all Licensor requests
                        for proposals or other similar evaluation processes related to NFTs connected to or associated
                        with Metaverse. In the event the Parties desire to jointly pursue opportunities related to NFTs
                        connected to or associated with Metaverse, the respective rights and obligations of each Party
                        related to such opportunity, including economic terms, shall be set forth in a mutually agreed
                        to separate agreement(s) or amendment(s) to this Agreement. Notwithstanding the foregoing,
                        and for purposes of clarity, nothing herein shall be construed in a manner that obligates any
                        Party to enter into an agreement related to NFTs connected to or associated with Metaverse.

                     H. Definitions:

                             (i)       “Daily Fantasy Games” means, in accordance with applicable daily fantasy laws,
                                       rules and regulations, football-themed games (which are typically structured in the
                                       form of paid competitions on a day-to-day or week-to-week basis (i.e., are not
                                       season long games) where winners receive a share of a pre-determined pool of cash
                                       or other prizes, and do not include any interactive gameplay); the core of the
                                       experience is acquiring a team of real-world players, setting lineups against other
                                       fantasy owners, and achieving results based on statistics (with no ability to
                                       influence the in-game action). Daily Fantasy Games are not (i) action simulation
                                       games, including manager-style simulation games; or (ii) sports betting, or contests
                                       of chance dependent to a material degree upon the outcome of a future contingent
                                       event not under the consumer’s control or influence notwithstanding the skill or
                                       knowledge of the consumer.




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                              (ii)    “Fantasy Style Games” means, in accordance with applicable fantasy laws, rules
                                      and regulations, football themed games that are played through the prism of the
                                      user as an “owner” (e.g., game mechanics are specific to fielding a team of eligible
                                      players) and are offered to consumers during the full season. These owners build
                                      and assemble imaginary teams composed of real-world/actual players from across
                                      the applicable league to compete against fellow owners. Results may be
                                      determined on a points basis and reflect the statistical performance of the real
                                      world/actual players in the actual performance of these players on real sports teams
                                      and in real sports events. Fantasy Style Games are played by considering a number
                                      of shifting factors through strategic risk-taking and decision-making which help
                                      predict a diverse set of future events and may occur in real-time with such real
                                      sports events or may be historic or, in some cases, simulated. Owners can compete
                                      in a variety of game modes, including but not limited to head-to-head, salary cap,
                                      knockout, seasonal keeper, custom draft, and other modes in which lineups are set
                                      and scores are tabulated in different ways. Fantasy Style Games as described herein
                                      shall not mean or include Daily Fantasy Games. Fantasy Style Games are not (i)
                                      action simulation games, including manager-style simulation games; or (ii) sports
                                      betting, or contests of chance dependent to a material degree upon the outcome of
                                      a future contingent event not under the consumer’s control or influence
                                      notwithstanding the skill or knowledge of the consumer.

                     I.   For the avoidance of doubt, upon purchase of the NFLPA Collectibles and/or Licensed
                          Products, end users and third parties will be granted, by NFLPI, a limited, perpetual and
                          irrevocable license to the Licensed Materials in the Licensed Products and/or NFLPA
                          Collectibles and shall have no ability to alter, transform, extract, or make any deviations to the
                          Licensed Materials.

                     J. Reserved.

                     K. Term. The term of this Agreement shall extend from the Effective Date to February 28, 2027
                        (the “Term”) unless terminated in accordance with the provisions hereof. The period of time
                        commencing at the Effective Date and ending February 28, 2023 shall be referred to as the
                        “First License Period.” The period of time commencing March 1, 2023 and ending February
                        29, 2024 shall be referred to as the “Second License Period.” The period of time commencing
                        March 1, 2024 and ending February 28, 2025 shall be referred to as the “Third License
                        Period.” The period of time commencing March 1, 2025 and ending February 28, 2026 shall
                        be referred to as the “Fourth License Period.” The period of time commencing March 1, 2026
                        and ending February 28, 2027 shall be referred to as the “Fifth License Period.” Licensee
                        acknowledges and agrees that Licensee has and shall have no right to extend or renew this
                        Agreement beyond the Term. No conduct by either Licensor or Licensee (including without
                        limitation, any approvals granted pursuant to Section 7) shall create, imply or infer a new
                        license agreement or an extension of the Term, unless the same is specifically set forth in a
                        written agreement signed by both Licensor and Licensee. The provisions of Section 12(F)
                        (Force Majeure) may not be utilized to extend the Term.

                     L. Territory and Distribution. Licensee has the right to distribute the Licensed Product(s)
                        worldwide (the “Territory”) via the following channels (each an “Approved Distribution
                        Channel”):

                          i. Online: www.draftkings.com and such other approved domains, owned or controlled by
                             Licensee, that Licensee may, determine to be appropriate for purposes of facilitating the




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                             purchasing, selling, and use of NFTs, including the Licensed Products (including via
                             mobile devices). The proposed domains owned or controlled by Licensee that will be used
                             for purposes of facilitating the purchasing, selling, and use of the Licensed Products shall
                             be subject to Licensor approval, not to be unreasonably withheld. Prior to the In-Market
                             Date, Licensee and Licensor will mutually agree to an approved list of domains and sub-
                             domains to be used as Approved Distribution Channels. Licensee shall not be required to
                             obtain Licensor’s approval of any further sub-domains that are that are based off or
                             extensions of a domain or sub domain that has already been approved by Licensor. The
                             Parties acknowledge that the mutual intention of the Parties is to allow for broad
                             distribution of the NFLPA Collectibles beyond the domains owned or controlled by
                             Licensee. Additionally, the Parties will use commercially reasonable efforts to implement
                             whitelist and/or blacklist domains, subject to technological feasibility.

                         ii. Mobile: iOS, Android (Google Play) or direct app download

                     M. NFL/Third Party Marks. Licensor makes no representation that it has the authority to grant, nor
                        does it grant herein, the right to utilize any symbols, insignias, logos, or other identifying names
                        or marks of the National Football League (“NFL”), any of its member clubs, or any other third
                        party (other than the NFL Players). Accordingly, Licensor hereby disclaims any liability arising
                        out of Licensee’s use of the symbols, insignia, or logos of the NFL, any of its member clubs,
                        or any third party (other than NFL Players) in the exercise of the License granted hereunder.
                        For clarity, it shall be the sole responsibility of Licensee, and Licensee agrees, to obtain such
                        permission as may be necessary for the use of such symbols, insignia, or logos of the NFL, any
                        of its member clubs, or any third party (other than NFL Players) from the appropriate rights
                        holder.

                     N. No Endorsement. The rights, licenses and privileges granted by NFLPI hereunder shall not
                        constitute or be used by Licensee as a testimonial or an endorsement of any product, service,
                        or event by all or any of the NFL Players, NFLPI, the NFLPA, or OneTeam. In the event
                        Licensee is interested in securing an individual NFL Player’s personal endorsement, Licensee
                        agrees and acknowledges that such endorsement will require the personal approval of the
                        individual NFL Player, approval of NFLPI, separate payment to NFLPI, and is subject to the
                        terms and conditions contained in Section 3.

                     O. Excluded Players. Any NFL Player who is committed individually by contract for products or
                        services competitive with those of Licensee may be required to cease from further inclusion in
                        this Agreement; provided, however, that the exclusion of such NFL Player shall be on an
                        individual basis and such Player shall not be combined with the use of five (5) or more other
                        NFL Players in a similar product which is not licensed by the NFLPA. Notwithstanding the
                        foregoing, to the extent that                     of NFL Players (or each of the top
                                   NFL Players by revenue production as ranked by the NFLPA from sales revenue
                        from the prior season, to the extent such NFL Players are actually on an opening day roster) on
                        opening day rosters in any given License Period are either (i) not a party to the NFLPA group
                        license, or (ii) excluded from this Agreement pursuant to this Section or any other section of
                        the Agreement, the Parties agree to meet and confer to agree upon an applicable equitable
                        adjustment in the consideration owed to Licensor pursuant to this Agreement. In the event the
                        Parties cannot agree to an equitable adjustment, Licensee may terminate this Agreement upon
                        written notice to Licensor.

                     P. Premium Giveaway Restriction. Licensee shall not use or authorize use of Licensed Product as
                        “premium items” to be included with non-Licensed Product, services or events to promote the




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                         sale of such non-Licensed Product, services or events. Any such promotion using the Licensed
                         Product as premium items shall require the prior written approval of Licensor. For purposes of
                         clarity, Licensee shall take no willful or intentional action, in bad faith, where the intention is
                         to reduce the Royalty paid to Licensor hereunder.

                2. CONSIDERATION.

                     A. Minimum Guarantee Payments. Licensee agrees to pay the guaranteed amounts specified
                        below which shall be the total minimum amount of the Royalty Share (as defined below) that
                        Licensee shall pay to Licensor for the use of the License within the Territory for the specified
                        time period, regardless of how many sales occur or how much revenue is generated (the
                        “Minimum Guarantee”); provided that, any Royalty Share payments already made for the
                        specified time period may be offset against the Minimum Guarantee for that time period. For
                        the avoidance of doubt, the Parties hereto acknowledge and agree that amounts owing
                        hereunder are due in connection with the applicable License Period for which they are earned,
                        and may not be cross-collateralized with any other License Period during the Term. For the
                        sake of further clarity: (i) Royalties that are paid for each License Period will serve to draw
                        down against the Minimum Guarantee for that License Period; (ii) in the event the total
                        Royalties paid by Licensee for a given License Period are less than the Minimum Guarantee
                        for that License Period, on the due date for that Minimum Guarantee as set forth below,
                        Licensee will owe only the difference between the Minimum Guarantee and the Royalties
                        previously paid to Licensor for that License Period; and (iii) in the event the total Royalties
                        paid by Licensee for a given License Period exceed the Minimum Guarantee for that License
                        Period, the Minimum Guarantee will be deemed to have been satisfied, and only the required
                        and continued payment of applicable Royalties above the Minimum Guarantee during that
                        License Period shall remain owing.

                                License Period               Minimum                           Due Date
                                                             Guarantee
                          First License Period         $                     $            which may be invoiced on or
                                                                             after January 1, 2022 (the “First Payment
                                                                             Date”),     with     remaining     amounts
                                                                             invoiceable hereunder pursuant to the
                                                                             Royalty Share (as defined below) on a
                                                                             monthly basis after the First Payment Date,
                                                                             subject to a True-Up within 60 days
                                                                             following the end of the License Period
                          Second License Period        $                     Royalty Share which may be invoiced on a
                                                                             monthly basis, subject to a True-Up within
                                                                             60 days following the end of the License
                                                                             Period
                          Third License Period         $                     Royalty Share which may be invoiced on a
                                                                             monthly basis, subject to a True-Up within
                                                                             60 days following the end of the License
                                                                             Period
                          Fourth License Period        $                     Royalty Share which may be invoiced on a
                                                                             monthly basis, subject to a True-Up within
                                                                             60 days following the end of the License
                                                                             Period
                          Fifth License Period         $                     Royalty Share which may be invoiced on a
                                                                             monthly basis, subject to a True-Up within




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                                                                             60 days following the end of the License
                                                                             Period

                         “True-Up” shall mean the payment owed by Licensee to Licensor of any amount reflecting the
                         difference between the Royalty Share and the applicable Minimum Guarantee.

                     B. Royalty Share. In addition to the obligations set forth in Section 2(A), Licensee shall pay
                        Licensor a percentage of revenue derived from the Licensed Product as follows (the “Royalty
                        Share”, or “Royalty”):          Percent ( %) of First Net Revenue and            Percent ( %)
                        of Second Net Revenue. Reasonable entry fees (i.e., fees paid by customers in order to interact
                        with or play a game) charged directly or indirectly by Licensee in its normal course of business
                        in connection with the Game shall be excluded from the Royalty Share. For the avoidance of
                        doubt, Licensee’s obligation to pay to Licensor the Royalty Share on Licensed Products shall
                        require Licensee to (i) enable (in or through its own marketplace or another access method)
                        Secondary Sales during and beyond the Term (such sales, the “Post-Term Sales”); (ii) use
                        commercially reasonable efforts to charge and collect a Transaction Fee (defined below) on all
                        such Secondary Sales and Post-Term Sales, where actually possible; and (iii) continue to pay
                        Licensor the Royalty on Second Net Revenue, if any, that Licensee actually collects, unless
                        such Royalty on the Second Net Revenue is remitted directly to Licensor, based on any
                        Secondary Sales and Post-Term Sales, in perpetuity, to the extent permitted by law (such
                        Royalty Share, the “Post-Term Royalty”). Prior to the In-Market Date, the Parties will
                        mutually agree to a plan that enables Licensee to provide necessary and appropriate services
                        and rights to owners of Licensed Products, NFLPA Collectibles and/or Gamified NFTs as well
                        as rights of Licensor and Licensee, as part of a reasonable wind down following expiration or
                        termination of this Agreement (the “Transition Plan”). The Transition Plan shall also include
                        additional terms and conditions to be mutually agreed upon by the Parties, including, without
                        limitation, impact of any breach of the surviving sections of this Agreement, following
                        expiration or termination of this Agreement. A “Transaction Fee” means the fee actually
                        received by Licensee in connection with sales of a Licensed Product by a consumer to another
                        consumer, whether in Licensee’s marketplace or otherwise.

                         Notwithstanding anything else to the contrary in this Agreement, upon and after termination or
                         expiration of this Agreement (i) owners of Licensed Products may continue to hold their
                         Gamified NFTs and/or NFLPA Collectibles in non-custodial wallets and/or DraftKings
                         controlled custodial wallet, and (ii) Licensee shall continue to enable and facilitate Secondary
                         Sales of Gamified NFTs and/or NFLPA Collectibles through a DraftKings owned or controlled
                         digital marketplace and such other approved domains; and (iii) Licensee shall in no event be
                         permitted to market or promote the Licensed Product, provided; however, Licensee may list
                         the Licensed Products for Secondary Sale.

                     C. “First Net Revenue” shall be defined as any fees or other amounts actually received by
                        Licensee with respect to the Licensed Product in connection with a first sale (a “First Sale”)
                        to unaffiliated third parties at the invoice price, including revenue received in connection with
                        downloads, licenses (including licensing to end users), subscriptions, sale of products
                        (including digital goods), and any other commercialization directly or indirectly by Licensee,
                        in each case, of or in connection with the Licensed Product (“Gross Sales”), less only verifiable
                        (i) adjustments, returns or chargebacks actually credited, (ii) credit card fees, and other third-
                        party electronic transactions processing fees, (iii) sales taxes to government authorities actually
                        paid and associated with Licensee’s sale or distribution of the Game, but expressly excluding
                        taxes based on Licensee’s net income, (iv) a mutually agreed upon amount (%) of prize pool
                        funding and (v) any amounts charged, retained or deducted by applicable unaffiliated




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                         distributors or platforms (including, for example, Apple Store, Google Play and opensea.io) in
                         connection with downloads of, subscriptions for and in-game transactions and other micro-
                         transactions in the Licensed Product; provided, however, that, except to the extent approved in
                         advance, deductions pursuant to (v) above during any License Period shall not exceed
                         percent ( %) of the Gross Sales received during the applicable License Period. For the
                         avoidance of doubt, Licensee shall not deduct from Gross Sales any amounts, other than the
                         amounts contemplated in (i) and (iii) above, in connection with websites, portals and/or
                         distribution platforms owned and/or operated by or on behalf of Licensee or any of its affiliates.
                         None of the foregoing permitted deductions contemplate “gas” fees related to the blockchain
                         network, or other similar operational costs or charges.

                     D. “Second Net Revenue” shall be defined as any fees or other amounts actually received by
                        Licensee with respect to the Licensed Product in connection with a Secondary Sale (which, for
                        clarity, shall mean and include any transaction after the First Sale (such as by a consumer to
                        another consumer or third party after the First Sale) (each, a “Secondary Sale”) for which
                        Licensee receives a transaction fee or other payment), less only verifiable (i) adjustments,
                        returns or chargebacks actually credited, (ii) credit card fees, and other electronic transactions
                        processing fees, (iii) sales taxes actually paid to government authorities and associated with
                        Licensee’s sale or distribution of the Game or associated with the Secondary Sale, but expressly
                        excluding taxes based on Licensee’s net income, and (iv) any amounts charged, retained or
                        deducted by third-party applicable unaffiliated distributors or platforms (including, for
                        example, Apple Store, Google Play and opensea.io) in connection with downloads of,
                        subscriptions for and in-game transactions and other micro-transactions in the Licensed
                        Product; provided, however, that, except to the extent approved in advance, deductions
                        pursuant to (iv) above during any License Period shall not exceed            percent ( %) of the
                        Secondary Sales received during the applicable License Period. For the avoidance of doubt,
                        Licensee shall not deduct from Secondary Sales any amounts, other than the amounts
                        contemplated in (i) and (iii) above, in connection with websites, portals and/or distribution
                        platforms owned and/or operated by or on behalf of Licensee or any of its affiliates. None of
                        the foregoing permitted deductions contemplate “gas” fees related to the blockchain network,
                        or other similar operational costs or charges.

                     E. Royalty Share shall be calculated on a monthly basis and shall be due within sixty (60) days
                        following Licensee’s receipt of an accurate and undisputed invoice.

                     F. In any License Period, unless otherwise agreed in advance and in writing, the total royalty
                        amount paid by Licensee to Licensor under this Agreement (the “Total Royalty Amount”)
                        shall not be less than the total amounts paid by Licensee (or any of its affiliates) to the NFL
                        (including together with any of such licensor’s affiliates and/or related parties) in connection
                        with any equivalent licensing royalties associated with First Sales or Secondary Sales of
                        Licensed Product. For clarity, any amounts paid by Licensee to the NFL or any of its affiliates
                        that are attributed to marketing, promotional or advertising spend shall not be counted for
                        purposes of determining the Total Royalty Amount.

                     G. Marketing Commitment. Licensee agrees to pay to Licensor a minimum marketing
                        commitment of                 Dollars ($          ) per License Period during the Term (the
                        “Marketing Commitment”) in exchange for marketing Activations approved by Licensee
                        (including the payments for such Activations) and subject to all terms and conditions set forth
                        in Section 3 below. The Marketing Commitment shall be paid as follows:




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                                  License Period             Marketing Spend                    Due Date
                               First License Period            $                   On or before February 28, 2023

                             Second License Period             $                   On or before February 29, 2024

                              Third License Period             $                   On or before February 28, 2025

                              Fourth License Period            $                   On or before February 28, 2026

                               Fifth License Period            $                   On or before February 28, 2027


                     H. Annual Merchandise Credit. Licensee and Licensor will work together in good faith to explore
                        a protocol for the provision to Licensor of complimentary NFLPA Collectibles in mutually
                        agreed upon quantities that would not be material to the expected revenues under this
                        Agreement.

                3. MARKETING ACTIVATIONS.

                     A. Activations. Licensee may spend the Marketing Commitment on activities that promote the
                        Licensed Product, including but not limited to NFL Player public appearances, fan
                        engagements, digital marketing (e.g., social media posts – subject to all applicable FTC
                        guidelines), autographs, and Content Activations (as defined herein) (“Activations”). All
                        contact with NFL Players in connection with Activations and/or other promotional activity
                        shall be through NFLPI. All Activations are subject to NFLPI approval and shall be in the form
                        of the pre-approved player activation agreement by and among the NFLPI, OneTeam, and the
                        applicable NFL Player (which may be amended from time to time with notice to Licensee)
                        (“Player Activation Agreement”). For clarity, Licensee shall not be a party to the Player
                        Activation Agreement. All Marketing Payment amounts shall be paid to OneTeam – and then
                        to NFL Players through NFLPI. In the event the cost of an Activation will result in Licensee
                        spending above the Marketing Commitment pursuant to Section 2(G), Licensee agrees to pay
                        any such excess amount to OneTeam upon the earlier of execution of the Player Activation
                        Agreement or performance of Activation by the player, provided that Licensee has approved
                        the payments under such Player Activation Agreement that resulted in such excess amount.
                        For clarity, expenditures on marketing efforts that do not include fees paid under a Player
                        Activation Agreement shall not count toward the Marketing Commitment unless after good
                        faith discussion between Licensee and Licensor, Licensee obtains Licensor’s prior written
                        approval of such marketing efforts.

                     B. Content Activations. Licensee may engage OneTeam Media, OneTeam’s production/content
                        affiliate (“OTM”) to create and/or collaborate on promotional content featuring NFL Players
                        to promote Licensee and the Licensed Product. By way of example only and without limiting
                        the content opportunities hereunder, such content may include production of live video content
                        (e.g., for commercials, promotional videos, etc.), voiceover recordings and/or social media
                        activations (“Content Activation(s)”). For the purpose of clarity, only the costs actually paid
                        to NFL Players in connection with Content Activations shall count toward the Marketing
                        Commitment. All Content Activations are subject to NFLPI approval and may be subject to
                        additional terms and conditions to be mutually agreed upon by the Parties and/or OTM.




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                     C. Restrictions. Players who are employed by NFL clubs (e.g., work) and/or live in a jurisdiction
                        in which the Licensed Product is considered “gambling” or “betting” may not be available to
                        provide services for Licensee in connection with this Agreement and Licensee agrees not to
                        include such players in its requests for approval for Activations, unless otherwise approved in
                        advance by Licensor following discussion between Licensor and Licensee. All Player
                        Activation Agreements shall terminate on or before the termination or expiration of this
                        Agreement, and each NFL Player shall have, at minimum, the termination rights consistent
                        with that of Licensor as set forth in this Agreement.

                4. STATEMENTS; PAYMENTS.

                     A. Statements. Commencing after the In-Market Date, Licensee shall furnish to Licensor, within
                        five (5) business days of the end of a calendar month, a form as set forth in Exhibit A, on a
                        monthly basis during each License Period (each, a “Reporting Statement”). Such Reporting
                        Statements shall be furnished to Licensor whether or not any of the Licensed Product(s) have
                        been purchased during the reporting period for which such statement is due. For clarity,
                        Licensee shall be obligated to report on any and all Secondary Sales and/or Royalties on
                        Secondary Sales, in each case, when such Secondary Sale occurs on or through any third-party
                        platforms. For purposes of clarity, to the extent payment is made directly to Licensor pursuant
                        to the applicable smart contract, Licensee’s reporting obligations herein shall be deemed
                        satisfied by reporting only on revenue actually received by Licensee. The Parties will work
                        together in good faith to mutually agree upon post termination and/or expiration reporting
                        obligations. The receipt or acceptance by Licensor of any statement or of any Royalty paid (or
                        the cashing of any Royalty check paid) shall not preclude Licensor from questioning the
                        correctness of the Royalties paid at any time. In the event any inconsistencies or mistakes are
                        discovered in connection with the Royalties paid, such mistakes or inconsistencies shall
                        promptly be rectified and the appropriate payment made by the appropriate Party.

                     B. Records. Licensee shall keep complete and accurate books of account, in accordance with
                        generally accepted accounting practice, and supporting records containing information
                        reasonably necessary for determining the Royalty payable to Licensor hereunder. Additionally,
                        Licensor shall have the right once in every twelve (12) month period during the Term to direct
                        an independent, third party accredited audit firm to inspect and audit Licensee’s, or Licensee’s
                        affiliates’, books of account and supporting records to verify the Royalty payable to Licensor
                        hereunder for the twenty four (24) month period preceding the initiation of the audit, upon
                        reasonable prior written notice, but in no event less than thirty (30) days prior written notice.
                        The audit shall be conducted during Licensee’s regular business hours, at Licensee’s place of
                        business (or wherever the relevant books and records are held), and in such a manner as not to
                        interfere with Licensee’s normal business activities. The independent third-party auditor must
                        agree to be bound by Licensee’s reasonable, market standard non-disclosure agreement. In the
                        event any such audit reveals an inconsistency or error in the Royalty paid to Licensor under
                        this Agreement, the deficiency shall promptly be rectified. The cost of such audit, including
                        the fees and expenses associated with the third party accredited audit firm shall be paid by
                        Licensor, provided that in the event such audit reveals a deficiency in the Royalty in excess of
                               percent ( %) of the Royalty paid to Licensor for the audited time period, Licensee shall
                        pay, in addition to the deficiency, the reasonable, documented, fees and expenses of the third
                        party accredited audit firm.

                     C. Payments. All payments owed to Licensor hereunder shall be delivered or made payable in the
                        name of “OneTeam Partners, LLC”, 1901 L Street, NW 7th Floor, Washington, D.C. 20036, or
                        its assignee where applicable, as directed by OneTeam. Without limiting the foregoing, if any




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                         undisputed payment is not made when due, which shall be sixty (60) days from the date of
                         receipt of an accurate and undisputed invoice, Licensor shall be entitled to charge and recover
                         interest thereon at the rate of                    percent ( %) monthly, or the maximum
                         interest permitted by law if less, on all payments not timely made by Licensee. Such interest
                         shall be calculated from the date payment was due until the date payment is finally received.
                         OneTeam will submit invoices for payments hereunder to                                    . Any
                         invoice delivered to the aforementioned contact will be deemed received by Licensee. Licensee
                         shall promptly notify Licensor in writing of any change to the contact information provided in
                         this Section 5(C) via email to                                            . Upon issuing any
                         payment to OneTeam hereunder, Licensee shall simultaneously submit to NFLPI a record of
                         same at                                   confirming that Licensee has issued such payment. In
                         addition, Licensee shall simultaneously provide Reporting Statements to OneTeam and NFLPI
                         (for NFLPI to                                   ).

                     D. Licensor acknowledges that Licensee and/or its affiliates are licensed by or are otherwise
                        subject to the authority of various gaming regulatory agencies (“Regulators”). Licensor further
                        acknowledges that Licensee’s gaming licenses are of vital importance to its business. Licensee
                        has adopted regulatory compliance policies, and Licensor agrees to provide Licensee, upon
                        Licensee’s reasonable request, with reasonable documentation, information, and assurances
                        regarding itself, any principal employees, directors, officers, brokers, agents, assigns, or others
                        as may be reasonably necessary in order for Licensee to comply with its regulatory compliance
                        policy, provided that Licensor shall provide Licensee with all such reasonable documentation,
                        information, and assurances in compliance with the requests or requirements of the Regulators.
                        Licensor shall use good faith efforts to promptly notify Licensee of any material, non-public,
                        change regarding Licensor, including, but not limited to, material ownership change, or
                        material change in the nature of the business conducted by Licensor, which should reasonably
                        be known to affect Licensee’s ability to conduct business or the business of any of its affiliates,
                        as qualified, licensed, or regulated by the applicable Regulators; provided, for clarity, that
                        Licensee acknowledges and agrees that Licensor does not regularly engage in any commercial
                        activity subject to Regulators, and thus shall not and cannot be expected to be aware of how
                        any particular change in Licensor’s business may be relevant to Licensee or any Regulators. .
                        In the event Licensor fails to promptly comply with information requests described in this
                        section or in the event Licensee determines, in good faith and after consultation with outside
                        counsel, that Licensor is, or may be engaged in, or is about to be engaged in, any activity or
                        activities that will materially and negatively impact or affect Licensee’s ability to conduct
                        business or the business of any of its affiliates, as qualified, licensed, or regulated by the
                        applicable Regulators or any gaming licenses or permits held by those entities, or that the
                        relationship between Licensor and Licensee could have a material adverse effect thereon or
                        prevent Licensee from obtaining any additional gaming licenses, then Licensee shall have the
                        right to terminate this Agreement immediately, upon written notice, and without penalty or
                        prejudice, provided that in the event such activities or change to relationship is susceptible to
                        cure, termination shall be as provided in Section 9(A). In the event Licensor determines, in
                        good faith and after consultation with outside counsel, that Licensee is, or may be engaged in,
                        or is about to be engaged in, any activity or activities that will materially and negatively impact
                        or affect Licensor’s ability to conduct business or the business of any of its affiliates, including
                        as qualified or regulated by the United States Department of Labor, or that the relationship
                        between Licensor and Licensee could have a material adverse effect thereon, then Licensor
                        shall have the right to terminate this Agreement immediately, upon written notice, and without
                        penalty or prejudice, provided that in the event such activities or change to relationship is
                        susceptible to cure, termination shall be as provided in Section 9(A).




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            6.      INTELLECTUAL PROPERTY.

                     A. Intellectual Property Rights. Licensee recognizes the great value of the goodwill associated
                        with the Licensed Materials licensed pursuant to this Agreement and acknowledges that such
                        goodwill belongs exclusively to NFLPI and that said Licensed Materials have acquired
                        secondary meaning in the mind of the public. Licensee further recognizes that NFLPI retains
                        all Intellectual Property Rights in the Licensed Materials, including, without limitation, all
                        modifications and derivative works. Licensee agrees that the goodwill accruing from every
                        use of the rights licensed hereunder by Licensee shall inure to the benefit of NFLPI and that
                        Licensee shall not at any time acquire any title or interest in such rights by virtue of any use
                        Licensee may make of such rights hereunder. All rights relating to the rights licensed hereunder
                        are specifically reserved by NFLPI except for the License herein granted to Licensee to use the
                        rights as specifically and expressly provided in this Agreement. Licensee hereby irrevocably
                        assigns to NFLPI all Intellectual Property Rights it may now or hereafter possess in the
                        Licensed Materials, and all derivative works thereof and agrees (i) to take, at any actions
                        (including reasonable execution and delivery of affidavits and other documents), reasonably
                        requested by Licensor to effect, perfect or confirm such rights, and (ii) to retain all proprietary
                        marks, legends and patent and copyright notices that appear on the Licensed Materials,
                        Licensed Products and documentation delivered to Licensee by Licensor and all whole or
                        partial copies thereof. Licensee shall cause each third party who makes or contributes to the
                        creation of the Licensed Materials to agree that all rights, including the copyrights, in his or her
                        work shall be owned by NFLPI and to execute necessary documents. Licensee agrees, upon
                        request (e-mail being sufficient), to provide NFLPI with copies and/or duplicates of all
                        Licensed Materials, and derivative works thereof in a reasonable digital format to be set by
                        NFLPI. Notwithstanding the contrary, each Party will exclusively own and control its
                        respective intellectual property. All goodwill that accrues from the licensed use of a Party’s
                        intellectual property hereunder will inure exclusively to the Party that owns the intellectual
                        property.

                     B. Trademarks and Trade Names; Press Releases. During the Term and within the Territory, and
                        subject to the other terms of this Agreement (including approval), Licensee shall have the right
                        to indicate to the public that it is an authorized manufacturer and distributor of Licensed
                        Products or similar designations mutually agreed to by the Parties. Notwithstanding the
                        foregoing, no Party shall make any public announcement or issue any press release concerning
                        the existence or terms of, or transactions contemplated by, this Agreement without the other
                        Parties’ prior written consent. At no time during or after the Term shall any Party challenge or
                        assist others to challenge the Intellectual Property Rights in any other Party's trademarks or the
                        registration thereof or attempt to register any trademarks or other proprietary indicia
                        confusingly similar to the other Party’s trademarks.

                     C. Logos. Licensee shall prominently place or cause to be placed the Licensor’s “NFL Players
                        Association (and design)” logo (hereinafter “Logo”) on the Licensed Product(s), advertising
                        (regardless of medium including, without limitation, print, broadcast, Internet, trade show
                        booths, catalogues and other sales), and any other sales/marketing materials used in connection
                        with Licensed Materials that are publicly distributed or otherwise relating to Licensed
                        Materials. Licensee shall comply with the Style Guide at Exhibit B, at all times and in all
                        respects, in relation to Licensed Materials, including with respect to the Logo.

                         “Officially Licensed Partner of the National Football League Players Association©
                     [Year]”




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                         The foregoing text (Officially Licensed Partner of the National Football League Players
                         Association© [Year]) may be amended from time to time upon notice to Licensee. If Licensee
                         maintains a website, Licensee shall also prominently place the Logo on a page no more than
                         two clicks from the homepage, and on any other web page within the website promoting or
                         utilizing the rights licensed hereunder. The Logo and the content boxes on the home page shall
                         contain the NFLPI URL as follows: NFLPA.COM/PLAYERS and shall serve as a hyperlink
                         to the NFLPI website at www.nflpa.com/players.

                     D. Notification of Unauthorized Use. Licensee shall promptly notify Licensor in writing upon its
                        discovery of any unauthorized use or infringement of the Licensed Materials, or Licensor’s
                        Intellectual Property Rights related thereto. Licensee shall notify Licensor in writing of any
                        infringement by others of the rights covered by this Agreement which may come to Licensee’s
                        attention, and NFLPI shall have the sole right to determine whether or not any action shall be
                        taken on account of any such infringement. Licensee shall not institute any suit or take any
                        action on account of any such infringement without first obtaining the written consent of
                        Licensor to do so, which consent Licensor may grant or deny in its sole reasonable discretion.
                        Licensee further agrees to reasonably assist Licensor to the extent reasonably necessary in the
                        procurement of any protection or to protect any of the rights conveyed hereunder, and Licensor,
                        if it so desires, may commence or prosecute at its own expense any claims or suits in its own
                        name related to the protection of any of the rights conveyed hereunder. NFLPI will receive the
                        full amount of any settlement made or damages awarded in connection with any action taken
                        against such infringement. Nothing in this Section 6(D) shall prevent Licensee from protecting
                        its rights in the Licensed Product(s) separate and apart from the Licensed Materials.

                     E. Licensee Property. Licensor acknowledges and agrees that Licensee retains all right, title and
                        interest that it may have in and to the Licensee Property. As used in this Agreement, “Licensee
                        Property” shall mean (i) Licensee’s name-brand designations, marks, and logos and the related
                        trademarks and copyrights of such; (ii) all Intellectual Property Rights in products made by
                        License, excluding Licensed Materials; and (iii) the trademarks, copyrights and other
                        proprietary materials (including, without limitation, trade secrets, tools, utilities, engines,
                        subroutines, source and object codes, program logic, interactive program structures, etc.) and
                        Intellectual Property Rights developed by or for Licensee except to the extent such rights
                        constitute the Licensed Materials.

                7. APPROVALS.

                     A. The Parties recognize their mutual intent and desire to develop a streamlined process for
                        Licensor approvals of marketing, promotional, and other materials, to the extent such approval
                        is required pursuant to this Agreement. The specific manner in which the Licensed Materials
                        are to be used hereunder, including with respect to Licensed Product, shall, as provided herein,
                        receive the prior written approval of Licensor.

                     B. Artwork and Sample Products. Licensee shall submit to NFLPI for its written approval (in a
                        form reasonably acceptable to NFLPI, which may include NFLPI’s electronic submission
                        system), such approval not to be unreasonably withheld, conditioned, or delayed (i) an
                        electronic rendering of Artwork, plans, Photographs and any other representations of Licensed
                        Materials produced by or for Licensee; and (ii) all scripts and story boards for proposed
                        commercials and advertisements for any medium in connection with the Licensed Materials.
                        Licensor shall, within five (5) business days of receipt of any such materials for approval, either
                        approve such materials or reject such materials and provide Licensee with a description of the
                        reasons for such rejection that is sufficient to permit Licensee to revise such materials. Such




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                         samples shall adhere to the NFLPA Standard Terms and Style Guide. Licensee shall use good
                         faith efforts to submit such materials in a timely fashion that allows Licensor more than five
                         (5) business days to review such materials prior to the date of their proposed use by Licensee.
                         Licensor shall use good faith efforts to promptly evaluate all such submissions as soon as
                         reasonably practicable. Once samples have been approved, Licensee will use and distribute
                         such materials in accordance with the approved samples and will not make any changes without
                         NFLPI’s prior written approval (e-mail being sufficient). No Licensed Product(s) or marketing
                         materials utilizing the Licensed Materials shall be sold or distributed by the Licensee without
                         such prior written approval. All samples of Licensed Products and/or Licensed Materials
                         submitted to NFLPI shall be provided at Licensee’s sole expense. Notwithstanding anything to
                         the contrary contained herein, Licensee is solely responsible for payment of any royalties, fees,
                         fines, or penalties arising out of the use of the Intellectual Property Rights of any third party
                         used in connection with the Licensed Materials. Licensee shall not be required to submit to
                         NFLPI for written approval, any electronic rendering of Artwork, plans, Photographs, or any
                         other representations of Licensed Materials produced by or for Licensee to the extent that such
                         final form of the Licensed Materials are solely created using, and only contain, electronic
                         rendering of Artwork, plans, Photographs, or any other representations of Licensed Materials
                         that were previously approved by NFLPI (“Subsequent Approved Uses”). Licensee shall
                         provide Licensor notice of all Subsequent Approved Uses not less than five (5) business days
                         prior to such use, regardless of any prior approval; provided the Parties agree to confer to the
                         extent Licensor has a reasonable business justification to revoke any prior approval. The Parties
                         will work in good faith to develop an expedited approvals process of less than twenty four (24)
                         hours for periods reasonably identified by Licensee as high value throughout the NFL season
                         (e.g. week one (1) of the NFL season, select prime time games, major matchups, playoffs,
                         Super Bowl) as well as unspecified emergent opportunities throughout the season in connection
                         with corresponding “moment-based” Licensed Product.

                     C. The smart contracts to be used for the Licensed Product, shall be subject to reasonable approval
                        by Licensor as they relate to any and all material terms and obligation under this Agreement.
                        The end user terms and conditions (i.e., as linked to the applicable smart contracts) shall be
                        subject to regular review with Licensor. Additionally, the Licensee shall continuously review
                        with the Licensor any relevant and/or material changes to these end user terms and conditions.
                        The Parties shall work together in good faith, and Licensee shall consider in good faith to
                        review any feedback Licensor has on the user terms and conditions, to ensure these user terms
                        and conditions as relevant smart contracts are reflective of both Parties’ mutual business
                        interests.

                     D. Product Development. Licensee will consult in good faith with Licensor and keep Licensor
                        reasonably appraised as to the development and any modification of all elements of the
                        Licensed Product(s), including, but not limited to, product and Game mechanics, product
                        appearance (components other than the Licensed Materials which are subject to Licensor’s
                        approval in accordance with Section 7(B)), and Licensee will consider any and all feedback
                        provided by Licensor regarding Licensee’s plans for development of the Licensed
                        Products. Licensee’s failure to comply with the foregoing shall be deemed a material breach
                        of this Agreement, for which Licensor may terminate this Agreement if Licensee fails to timely
                        cure such failure within ten (10) business days of receipt of written notice from Licensor. In
                        addition to the preceding sentence, at least once per quarter, or more frequently as mutually
                        agreed to by the Parties, the Parties shall meet (in person or telephonically) to discuss the
                        development of Licensed Products. Such quarterly meeting shall be conducted at times and in
                        a manner that is mutually acceptable to all Parties. During such quarterly meetings, Licensor
                        may provide feedback regarding Licensee’s plans for development of Licensed Products, which




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                         Licensee shall consider, in good faith. Any information, documents, or other materials provided
                         or discussed in such meetings or as part of feedback provided by Licensor shall be deemed
                         Confidential Information of Licensee. For clarity, Licensee’s good faith refusal to implement
                         any feedback or consultation provided by Licensor shall not be a breach of this Agreement,
                         provided such refusal is (i) limited to Game mechanics, (ii) does not reflect poorly on NFL
                         Players and/or (iii) is not reasonably expected to materially and negatively impact revenue
                         received by Licensor under this Agreement.

                     E. NFL Players. The list of players for whom NFLPI has group licensing authorization (the
                        “Player Agreement Report”) is available to Licensee via the Internet at
                        https://nflpa.com/players/resources with Licensee’s “user name” and “password” to be
                        provided by NFLPI. In addition, NFLPI may secure authorization from players not listed on
                        the Player Agreement Report, including but not limited to retired players who have authorized
                        NFLPI to represent such players as their exclusive license agent for inclusion in NFLPI
                        licensing programs. Notwithstanding the foregoing, during the Term, Licensee shall submit to
                        NFLPI a proposed list of players’ names for inclusion in the Licensed Product(s) for the
                        upcoming football season. Licensee shall cross-reference its player list against the current
                        Player Agreement Report. After cross-referencing the lists, Licensee must submit its proposed
                        final player list to NFLPI for approval. With regard to jersey numbers for active NFL Players,
                        it is Licensee’s sole responsibility to cross-reference its player list against player rosters posted
                        on www.nfl.com. If applicable, jersey numbers for retired NFL Players must be submitted to
                        NFLPI for approval. NFLPI shall respond to such submissions in writing to Licensee,
                        signifying approval or disapproval in the case of each requested player’s name, such approval
                        not to be unreasonably withheld or delayed. Licensee may submit requests in writing to NFLPI
                        for additions, deletions, or substitutions of players’ names and NFLPI shall respond to such
                        requests within a reasonable period of time, such approval not to be unreasonably withheld
                        conditioned or delayed.

                     F. No Sublicensing without Approval and Conditions. Licensee may subcontract its rights under
                        the Licensed Materials to subcontractors; provided that subcontractors shall be bound by terms
                        and conditions materially similar to the applicable terms and conditions of this Agreement in
                        any lower tier agreement, and Licensee shall remain responsible for all acts and omissions of
                        any such subcontractors.

                8. REPRESENTATIONS AND WARRANTIES; DISCLAIMERS.

                     A. By NFLPI. NFLPI represents and warrants that (i) it is a corporation or entity duly organized,
                        validly existing and in good standing under the laws of its applicable jurisdiction of
                        incorporation or organization; (ii) it is duly qualified to do business and is in good standing in
                        every jurisdiction in which such qualification is required for purposes of this Agreement; (iii)
                        it has the full right, power and authority to enter into this Agreement, to provide the licenses,
                        and perform its obligations hereunder; (iv) it is a licensing affiliate of the NFLPA; (v) it has
                        been duly appointed as the exclusive licensing agent on behalf of the NFL Players; (vi) it owns
                        or controls all of the Licensed Materials and the Intellectual Property Rights therein; (vii) the
                        Licensed Materials do not infringe, violate, or misappropriate any Intellectual Property Rights
                        of any third party; (viii) this Agreement, and the rights and licenses granted to Licensee herein,
                        do not conflict with or violate any other agreement, contract or obligation of NFLPI or NFLPA;
                        (ix) it will comply with all applicable laws and regulations.

                     B. By OneTeam. OneTeam represents and warrants that (i) it is a corporation or entity duly
                        organized, validly existing and in good standing under the laws of its applicable jurisdiction of




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                         incorporation or organization; (ii) it is duly qualified to do business and is in good standing in
                         every jurisdiction in which such qualification is required for purposes of this Agreement; (iii)
                         it has the full right, power and authority to enter into this Agreement, to provide the licenses,
                         and perform its obligations hereunder; (iv) it is an affiliate of NFLPI and the NFLPA; and (v)
                         it will comply with all applicable laws and regulations.

                     C. By NFLPA. NFLPA represents and warrants that (i) it is a corporation or entity duly organized,
                        validly existing and in good standing under the laws of its applicable jurisdiction of
                        incorporation or organization; (ii) it is duly qualified to do business and is in good standing in
                        every jurisdiction in which such qualification is required for purposes of this Agreement; (iii)
                        it has the full right, power and authority to enter into this Agreement, to provide the licenses,
                        and perform its obligations hereunder; and (iv) it will comply with all applicable laws and
                        regulations.

                     D. By Licensee. Licensee represents and warrants that (i) it is a corporation or entity duly
                        organized, validly existing and in good standing under the laws of its applicable jurisdiction of
                        incorporation or organization; (ii) it is duly qualified to do business and is in good standing in
                        every jurisdiction in which such qualification is required for purposes of this Agreement; (iii)
                        it has the full right, power and authority to enter into this Agreement and perform its obligations
                        hereunder; (iv) Licensee will comply with the NFLPA Standard Terms and Style Guide; (v) all
                        elements (including all material of any nature utilizing in any way the rights licensed hereunder,
                        including all packages, cartons, point of sale material, newspaper and magazine
                        advertisements) of the Licensed Products, excluding the Licensed Materials, shall comply with
                        all applicable laws, rules and regulations; (vi) the Licensed Products being administered by
                        Licensee shall comply with all applicable laws; (vii) in the event Licensee becomes aware that
                        Licensee’s use of the rights granted hereunder and/or the Licensed Products becomes subject
                        to regulatory action by any securities, gaming or financial regulatory authority, Licensee will
                        promptly notify Licensor (if permitted by applicable law, and without disclosure of confidential
                        information) and upon request from Licensor, cease all use of the Licensed Rights until and
                        unless continued use is mutually agreed upon by the Parties; and (viii) Licensee has not and
                        will not, during the Term or at any time after: (a) challenge or attack any right, title or interest
                        of NFLPA, NFLPI or OneTeam in and to the Licensor’s Intellectual Property Rights or the
                        Licensed Materials or an NFL Player’s ownership of such NFL Player’s Identity, nor shall
                        Licensee knowingly assist others in so doing; (b) secure or seek to secure, directly from any
                        player who is under contract to an NFL club or is seeking to become under contract to an NFL
                        club (i.e. participating in the NFL draft or the NFL combine), or from such player’s agent,
                        permission or authorization for the use of such player’s Identity in conjunction with the
                        Licensed Product(s); or (c) intentionally or negligently do anything that could in any way
                        damage the reputation or goodwill associated with the Licensed Materials.

                9. TERMINATION; EFFECT OF TERMINATION; SURVIVAL.

                     A. Termination.

                         i.   Either Party may terminate this Agreement upon written notice to the other Party: (1) in
                              the event such other Party fails to perform or breaches any material term of this
                              Agreement, provided that the non-breaching Party provided a prior, separate written
                              notice to the breaching Party specifying the nature of the failure and such failure to
                              perform continued for a period of thirty (30) days after receipt of such separate written
                              notice; (2) immediately, in the event that the performance of such other Party’s obligations
                              under this Agreement would be in violation of any law, rule, regulation, or order




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                               applicable to such other Party (whether now known or hereafter adopted) and the failure
                               to comply with such law, rule, regulation, or order would have a material adverse effect
                               on the terminating Party; provided, that in the event the nature of such violation of law,
                               rule, regulation, or order is susceptible to cure without material adverse effect on the
                               terminating Party, termination shall be as provided in Section 9(A)(i)(1); or (3) any
                               governmental, administrative, or adjudicatory body (e.g., the Securities and Exchange
                               Commission or state regulatory authorities) determines that the Licensed Product is a
                               security.

                         ii.   Licensor may terminate this Agreement upon written notice to Licensee in the event: (1)
                               Licensee engages in any unauthorized use of the Licensed Products and/or Licensed
                               Materials and fails to cure such authorized use within thirty (30) days after receipt of
                               written notice from Licensor; (2) Licensee fails to make timely payment of any undisputed
                               amount due under this Agreement and fails to timely cure such failure within ten (10)
                               business days of receipt of written notice from Licensor; (3) Licensee does not introduce
                               and offer for sale the Licensed Product on or before the In-Market Date; or (4)
                               immediately upon written notice to Licensee in the event that NFLPA determines, in its
                               sole discretion, that NFLPA or NFL Players are at risk of regulatory, civil, criminal or
                               employment related action due to the existence of this Agreement.

                        iii.   Any Party may terminate this Agreement upon written notice in the event any other Party
                               files a petition in bankruptcy or is adjudicated as bankrupt, or if a petition in bankruptcy
                               is filed against any such Party or if such Party becomes insolvent, or makes an assignment
                               for the benefit of its creditors or an arrangement pursuant to any bankruptcy laws, or if
                               such Party discontinues its business, or if a receiver is appointed for it or its business (and,
                               in the event of such termination, neither such Party nor its receivers, representatives,
                               trustees, agents, administrators, successors, and/or assigns shall have any right to sell,
                               exploit or in any way deal with the rights granted hereunder or with any Licensed Products
                               or any carton, container, packaging or wrapping material, advertising, promotional or
                               display material pertaining to any Licensed Materials) and such proceedings, receivership,
                               assignment, or insolvency is not dismissed, discharged or withdrawn within sixty (60)
                               days.

                        iv.

                                                                                        .

                     B. Effect of Termination.

                          i. Upon expiration or termination of this Agreement for any reason, all rights granted to
                             Licensee under this Agreement shall automatically and immediately cease and revert to
                             Licensor and Licensee will refrain from further use of such rights or any further reference
                             thereto, direct or indirect. Licensee acknowledges that its failure to cease the use of such
                             rights at the termination or expiration of this Agreement may result in immediate and
                             irreparable damage to OneTeam, NFLPA, NFLPI and/or individual Player(s), and to the
                             rights of any subsequent licensee(s). The expiration or earlier termination of this
                             Agreement will not relieve any Party from its obligation to pay any monies due to the other
                             Party for any period prior to the effective date of such expiration or termination.

                         ii. Notwithstanding anything in this Agreement to the contrary, to the extent that any
                             consumer has acquired a Licensed Product prior to expiration or termination of this




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                             Agreement, that consumer will have the right to continue owning (including retaining,
                             selling/transferring, displaying and/or otherwise exploiting) the Licensed Product (and will
                             continue to own the associated NFT) following the expiration or termination of this
                             Agreement and Licensee will have the right to continue to provide a digital marketplace
                             for such Licensed Products, subject to any applicable terms and conditions set forth in the
                             Transition Plan. For the avoidance of doubt, the Parties agree Secondary Sales of the
                             Licensed Products shall be permitted after expiration or termination hereof, subject to
                             payment of the Post-Term Royalty in accordance with Section 2(B), and Licensee’s
                             compliance with all obligations hereunder.

                        iii. In the event Licensor terminates this Agreement due to Licensee’s uncured material breach
                             of this Agreement in accordance with Sections 7(D), 9(A)(i)(1), 9(A)(i)(2), 9(A)(ii)(1),
                             9(A)(ii)(2), and/or, 9(A)(ii)(3), Licensee shall pay any remaining Minimum Guarantee
                             payment (minus any Royalty Share payments already made for the License period)
                             applicable to the License Period in which the termination occurs, and any Royalty Share
                             payments (above such Minimum Guarantee) due and owing, if any. Licensor will use good
                             faith and commercially reasonable efforts to mitigate its damages in the event of
                             termination of this Agreement and license the Licensed Materials for inclusion and use in
                             applicable category, and any Minimum Guarantee payment required to be made by
                             Licensee under this Section 9(b)(iii) shall be reduced to the extent and in the amount
                             Licensor is able to mitigate its damages and license the Licensed Materials for inclusion
                             and use in Games.

                     C. Survival. Sections 1(I), 6(E), 9(B)(ii), 9(C), 10(A)-(C), 11, 12, 13(A), 13(B), 13(D), 13(F),
                        13(G), 13(I), 13(K), and 14 of this Agreement (together with all definitions pertinent to the
                        foregoing sections and all other provisions of this Agreement that reasonably may be
                        interpreted as surviving the expiration or earlier termination of this Agreement) will survive
                        any such expiration or termination.

                10. INDEMNIFICATION; INSURANCE.

                     A. Indemnification by Licensee. Licensee will defend, indemnify and hold harmless Licensor,
                        their respective parent organizations, affiliates, officers, directors, employees and members,
                        and any of their respective successors or assigns, and NFL Players (collectively, “Licensor
                        Indemnitees”), from and against any and all claims, suits, losses, damages and expenses
                        (including reasonable outside attorney’s fees and expenses), resulting from third party claims
                        made or suits brought against any Licensor Indemnitee to the extent based on Licensee’s breach
                        of this Agreement (each a “Licensor Claim”).

                     B. Indemnification by Licensor. NFLPI and OneTeam, each with respect to its rights, duties and
                        obligations hereunder, will, defend, indemnify and hold harmless Licensee, its parent
                        organizations, affiliates, officers, directors, and employees, and any of their respective
                        successors or assigns (collectively “Licensee Indemnities), from any liabilities, losses,
                        damages, and expenses (including reasonable attorneys’ fees and expenses) resulting from
                        claims made or suits brought against Licensee Indemnities based upon breach of this
                        Agreement by one or more of NFLPA, NFLPI, and/or OneTeam (each a “Licensee Claim”).
                        Collectively, Licensee Claims and Licensor Claims shall each be a “Claim”.

                     C. Indemnification Procedures. With regard to indemnification, whenever the Party obligated to
                        indemnify the other Party (the “Indemnifying Party”) has an obligation to indemnify the Party
                        being indemnified (the “Indemnified Party”) under this Agreement, the following procedures




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                         shall apply: The Indemnified Party shall promptly notify the Indemnifying Party in writing of
                         any Claim in respect of which indemnity may be sought, which notice shall assert such
                         indemnification claim and describe the basis for indemnification. The failure to so notify the
                         Indemnifying Party shall not relieve the Indemnifying Party of its obligations hereunder, except
                         to the extent that such failure shall have adversely prejudiced the Indemnifying Party. The
                         Indemnifying Party shall have the right to control the defense and settlement of the Claim and
                         to appoint lead counsel reasonably satisfactory to the Indemnified Party, unless such lead
                         counsel is required by the Indemnifying Party’s insurer, in each case at the Indemnifying
                         Party’s expense. The Indemnified Party shall have the right to appoint co-counsel in any Claim,
                         at the Indemnified Party’s own expense. In the event the Indemnifying Party does not within
                         a reasonable time assume control of such settlement or defense, the Indemnified Party shall
                         have the right to control such defense and settlement at the Indemnifying Party’s expense. The
                         Party not controlling such defense or settlement may participate therein at its own expense. The
                         Parties shall reasonably cooperate with each other in the defense and settlement of such Claim,
                         at the Indemnifying Party’s reasonable cost and expense. The Indemnified Party shall not agree
                         to any settlement of such Claim without the prior written consent of the Indemnifying Party,
                         and the Indemnifying Party shall have no obligation to indemnify the Indemnified Party for
                         any Claim settled by the Indemnified Party without the prior consent of the Indemnifying Party.
                         The Indemnifying Party shall obtain the prior written consent of the Indemnified Party before
                         entering into any settlement of such Claim in the event the settlement does not release the
                         Indemnified Party and its affiliates from all liabilities and obligations with respect to such
                         Claim, requires any action by the Indemnified Party, imposes injunctive or other equitable
                         relief against the Indemnified Party or any of its affiliates, or involves an admission of fault or
                         wrongdoing by the Indemnified Party or any of its affiliates. In the event an Indemnified Party
                         violates this Section 10(C) with respect to any Claim for indemnification, the Indemnified Party
                         shall have no further right to indemnification for such Claim.

                     D. Insurance. Each Party shall procure and maintain at its own expense, or establish a self-
                        insurance program to provide for, comprehensive commercial general liability insurance
                        providing adequate protection for Licensee and Licensor against claims or suits in amounts no
                        less than of at least              Dollars ($         ) per occurrence and                Dollars
                        ($           ) in the aggregate. Such insurance shall: (i) be underwritten by a carrier rated at
                        least A-VIII in Best’s Key Rating Guide licensed in the Territory; (ii) remain in force at all
                        times during the Term and for a period of one (1) year thereafter; (iii) be primary (not
                        contributory) as to any other insurance in force; and (iv) name OneTeam, NFLPI, NFLPA and
                        their respective officers, agents and employees as additional insureds (in the case of Licensee’s
                        insurance policies) and Licensee and its affiliates and their respective officers, agents and
                        employees (in the case of OneTeam and NFLPI insurance policies). Within ten (10) days of
                        written request of a Party, the other Party shall furnish the requesting Party with a certificate
                        of insurance naming such Party and their respective officers, agents, and employees as
                        additional insureds. If any such insurance includes or permits a waiver of subrogation, such
                        waiver shall apply to the insured Parties. If any such insurance provides for a waiver of
                        subrogation in the event that such waiver is required by a third party agreement, then this
                        Agreement shall be deemed to require such waiver. Any claims covered by a Party’s insurance
                        policies shall not be offset or reduced in any amount whatsoever by any other insurance which
                        an insured Party may independently maintain. Each Party shall notify the other Parties of all
                        claims regarding the Licensed Materials and Licensed Products under any of the foregoing
                        policies of insurance promptly upon the filing thereof. No Party’s indemnification obligations
                        hereunder shall be limited by the amount of insurance requirements hereunder.

                11. LIMITATION OF LIABILITY.




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                     LIMITATION OF LIABILITY. EXCEPT FOR CLAIMS UNDER SECTION 10
                     (INDEMNIFICATION) AND SECTION 12 (CONFIDENTIALITY) AND EXCEPT FOR
                     CLAIMS RESULTING FROM GROSS NEGLIGENCE, WILLFUL MISCONDUCT
                     (INCLUDING FAILURE TO MAKE PAYMENTS UNDER THIS AGREEMENT), OR FRAUD,
                     EACH OF LICENSOR’S, ON THE ONE HAND, AND LICENSEE’S, ON THE OTHER HAND,
                     MAXIMUM AGGREGATE LIABILITY UNDER THIS AGREEMENT SHALL BE LIMITED
                     TO THE GREATER OF (I) THE AMOUNT PAID OR PAYABLE BY LICENSEE TO
                     LICENSOR HEREUNDER DURING THE TWELVE (12) MONTH PERIOD IMMEDIATELY
                     PRECEDING THE EVENTS FIRST GIVING RISE TO THE CLAIM AND (II)
                              DOLLARS ($         ). IN NO EVENT SHALL A PARTY BE LIABLE TO
                     ANOTHER PARTY (WHETHER IN CONTRACT, WARRANTY TORT (INCLUDING
                     NEGLIGENCE OR OTHER THEORY) OR ANY OTHER INDIVIDUAL OR ENTITY FOR
                     ANY SPECIAL, CONSEQUENTIAL, INCIDENTAL, OR INDIRECT DAMAGES
                     (INCLUDING DAMAGES FOR LOSS OF PROFIT, REVENUE, BUSINESS OR DATA),
                     HOWEVER CAUSED, EVEN IF SUCH PARTY HAS BEEN ADVISED OF THE POSSIBILITY
                     OF SUCH DAMAGES. THESE LIMITATIONS SHALL APPLY NOTWITHSTANDING ANY
                     FAILURE OF ESSENTIAL PURPOSE OF ANY LIMITED REMEDY. FOR CLARITY, ANY
                     FINES OR PENALTIES IMPOSED BY ANY REGULATOR SHALL NOT BE CONSIDERED
                     SPECIAL, CONSEQUENTIAL, INCIDENTAL, OR INDIRECT DAMAGES.

                12. CONFIDENTIALITY; PRIVACY. Except as otherwise expressly set forth herein, no Party may
                    disclose or make available any Confidential Information without the prior written consent of the
                    other Parties. A Party may disclose Confidential Information only to those of its officers, directors,
                    employees, members, shareholders, attorneys, agents, and professional advisors (collectively,
                    “Representatives”) that have a need to know such information and are bound by confidentiality
                    obligations no less restrictive that those set forth herein, provided that each Party is and will remain
                    responsible for the acts and omissions of its Representatives hereunder. Each Party will protect and
                    keep confidential the Confidential Information, using at least reasonable care and at least the same
                    degree of care as such Party would use with its own confidential information of a similar nature.
                    The receiving Party will use Confidential Information solely as reasonably necessary to perform its
                    obligations and/or exercise or enforce its rights under this Agreement and for no other purposes.
                    The receiving Party may disclose Confidential Information to the extent necessary to comply with
                    applicable law or legal process, provided that the receiving Party will give the disclosing Party
                    prompt notice thereof, to the extent not prohibited by law, and facilitate and comply with any
                    protective order imposed on such disclosure, and the disclosing Party's expense. The receiving Party
                    shall promptly notify the disclosing Party in writing upon learning of any unauthorized use or
                    disclosure of Confidential Information, to the extent not prohibited by law. Notwithstanding
                    anything to the contrary, Licensee may disclose the terms and conditions of this Agreement and such
                    non-public, confidential, or proprietary information as it reasonably deems necessary or advisable
                    to any gaming authority or other governmental entity pursuant to any gaming laws to which it is
                    subject. Upon written request of a Party, a Party will return to the other Party, or destroy, as directed
                    by the disclosing Party, all materials, in any medium, which contain, embody or reference any
                    Confidential Information of the other Parties; provided, however that the receiving Party may retain
                    copies of Confidential Information, subject to the confidentiality requirements herein, to the extent
                    required by the receiving Party’s commercially reasonable record retention policies, to the extent
                    necessary to comply with legal and/or regulatory requirements, or to the extent any Confidential
                    Information that is contained in an archived computer system backup that was made in accordance
                    with receiving Party’s security and/or disaster recovery procedures. Notwithstanding the return of
                    Confidential Information, each Party will continue to be bound by its obligations of confidentiality
                    under this Agreement for a period of two (2) years after the expiration or termination of this
                    Agreement, except for information that qualifies as a trade secret under applicable law, which will




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                    continue to be subject to the confidentiality obligations of this Agreement for so long as such
                    information remains a trade secret. The Parties agree that in the event of any actual or threatened
                    breach of the confidentiality obligations hereunder, the Party who disclosed the Confidential
                    Information will have no adequate remedy at law and will be entitled to seek injunctive or other
                    equitable relief to prevent such breach, without the necessity of posting a bond, in addition to all
                    other remedies available at law or in equity. Licensor shall not under any circumstances provide
                    any non-public information relating to any NFL Player (other than information specifically
                    embedded in the Licensed Materials) (“PII”) to Licensee hereunder without Licensee’s prior written
                    consent in each case. Provided Licensor has obtained such consent to provide PII to Licensee,
                    Licensee shall not knowingly or negligently engage in any unauthorized use of, or disclose to any
                    third parties, any such PII.

                13. MISCELLANEOUS.

                     A. Other Definitions.

                         i. “Artwork” means all artwork produced under the License to the extent that it incorporates
                            the Identities.

                         ii. “Group Player Rights” means the right to use the Identities of six (6) or more active NFL
                             Players, regardless of team affiliation and whether that number is reached using such rights
                             simultaneously or individually, in any form, media or medium (now known or hereafter
                             developed) during a consecutive twelve (12) month period.

                        iii. “Identities” means the names, images, likenesses, nicknames, initials, persona, personal
                             indicia, jersey numbers, autograph/signatures (including facsimiles), voices, pictures,
                             photographs, animation, identities, statistics, data, copyrights, biographical information
                             and/or other identifying characteristics of NFL Players (as defined herein).

                        iv. “Intellectual Property Rights” means all forms of intellectual property rights and
                            protections including without limitation, all right, title and interest arising under U.S.
                            common and statutory law and the laws of other countries to all: (i) proprietary indicia,
                            trademarks, trade names, symbols, logos and/or brand names; (ii) trade secret rights and
                            equivalent rights; (iii) copyrights, other literary property or authors rights, whether or not
                            protected by copyright or as a mask work; and (iv) patents and all filed, pending or potential
                            applications for patents, including any reissue, reexamination, division, continuation or
                            continuation-in-part applications throughout the world now or hereafter filed.

                         v. “Licensed Materials” means the NFLPA Trademarks, the Identities, Artwork, Secondary
                            Marks.

                        vi. “NFL Player” means each such player included in and covered by NFLPI licensing
                            programs, whether via the group licensing assignment, Standard NFL Player Contract, or
                            by separate authorization.

                       vii. “NFLPA Trademarks” means the proprietary indicia, trademarks, trade names, symbols,
                            logos and/or brand names controlled by NFLPI or its affiliates which may be amended
                            from time to time by NFLPI.

                       viii. “NFLPA Standard Terms” means the policy attached hereto as Exhibit D.




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                        ix. “Photographs” means all photographs of player Identities taken by Licensee. For clarity,
                            Licensee shall not own the Identities within the Photographs, and Licensee acknowledges
                            it shall have no right to use or exploit Photographs with Identities following the expiration
                            or termination of this Agreement.

                         x. “Secondary Marks” means all player-themed secondary marks and/or promotional
                            concepts developed for use and used in connection with the Licensed Product that
                            develops secondary meaning or substantial consumer recognition with respect to
                            individual players or NFLPI.

                        xi. “Style Guide” means the policy attached hereto as Exhibit B.

                     B. Non-Disparagement; Moral Turpitude. No Party, nor its affiliates, employees, officers and/or
                        spokesperson(s) (excluding, for clarity, any NFL Player) shall commit any act or do anything
                        which could reasonably be construed to bring any other Party, or a NFL Player into public
                        disrepute, contempt, scandal, or ridicule, or which might be reasonably construed to reflect
                        unfavorably on any other Party. No Party shall make any public statement disparaging the
                        reputation, products, or services of any other Party or its affiliates. Violation of this provision
                        is hereby deemed an incurable, material breach allowing for immediate termination of the
                        Agreement within thirty (30) days of the non-breaching Party first becoming aware of such
                        violation in the sole discretion of such non-breaching Party, provided that neither of OneTeam,
                        NFLPA, and NFLPI may exercise such termination right due to a violation of this provision by
                        any of OneTeam, NFLPA, or NFLPI.

                     C. Independent Contractors. The relationship of Licensor and Licensee established by this
                        Agreement is that of independent contractors, and nothing contained in this Agreement shall
                        be construed to (i) give either Party the power to direct and control the day-to-day activities of
                        the other, (ii) constitute the Parties as partners, joint venturers, co-owners or otherwise as
                        participants in a joint or common undertaking, or (iii) allow any Party to create or assume any
                        obligation on behalf of any other Party for any purpose whatsoever.

                     D. Confidential Information. “Confidential Information” means information disclosed by a
                        Party to the other Party or materials made available to or developed by outside organizations
                        or individuals for the use of a disclosing Party, whether orally, visually, or in written form,
                        including but not limited to the terms and conditions of this Agreement, trade secrets of each
                        Party, any information relating to each Party’s product plans, designs, ideas, concepts, costs,
                        prices, finances, marketing plans, business opportunities, personnel, research, development or
                        know-how, technology, documentation, processes, algorithms, proprietary information, and
                        any other technical or business information of each Party. The term “Confidential Information”
                        shall not include, information that (i) is already known by or available to the public through no
                        fault of the receiving Party, (ii) was already in the possession of the receiving Party on a non-
                        confidential basis, (iii) is independently developed by the receiving Party without the use of
                        any Confidential Information provided by the disclosing Party, or (iv) the receiving Party
                        rightfully obtains from a third party who, to the receiving Party’s reasonable belief, has the
                        right, without obligation to the disclosing Party, to transfer or disclose such information.

                     E. No Assignment, Transfer or Encumbrance. No Party shall assign, transfer, delegate, or
                        otherwise grant an encumbrance of any of its rights or obligations under this Agreement, or
                        this Agreement in its entirety, to any other Party without the other Parties’ prior written consent,
                        which such Parties may grant or deny in its sole and absolute discretion; provided, however,
                        that any Party may assign this Agreement without the prior written consent of the other Parties




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                         in connection with a merger, acquisition, sale of all or substantially all of such Party’s assets,
                         or any similar transaction (including to an affiliate). Further, any attempt by Licensee to grant
                         a security interest in the Licensed Materials or assign, transfer, or otherwise encumber any
                         portion of the Agreement in violation of this section, shall be null and void. For clarity, nothing
                         in this Agreement shall limit Licensee’s right to grant a security interest or other encumbrance
                         with respect to any assets, including any Intellectual Property, owned by the Licensee or its
                         affiliates. Nothing in this section shall inhibit any Party’s termination rights pursuant to Section
                         9. Subject to the foregoing, this Agreement shall be binding upon and inure to the benefit of
                         the Parties hereto and their permitted successors and assigns.

                     F. Force Majeure; Governing Law; Binding Effect. In the event any Party is unable to perform
                        any of its obligations under this Agreement due to an event beyond the control of that Party,
                        including natural disaster, acts of God, fire, actions or decrees of governmental bodies, act of
                        war, terrorism, strikes, lockouts, work stoppages, labor disputes, failure or discontinuance of
                        the Internet or failure of communications lines or networks (each a “Force Majeure Event”),
                        that Party will use commercially reasonable efforts to resume performance of its obligations
                        but will have no liability to the other Party for failure to perform its obligations under this
                        Agreement for so long as it is unable to do so as a result of such event, provided that in the
                        event the NFL Players strike or otherwise engage in a concerted work stoppage, such strike or
                        work stoppage shall not relieve the NFLPA, NFLPI, or OneTeam of their respective obligations
                        under this Agreement. The affected Party shall give prompt written notice to the other Party
                        and shall be excused on a day-to-day basis to the extent such Force Majeure Event continues
                        (and the non-affected Party shall likewise be excused from performance on a day-to-day basis
                        to the extent its performance relates to the delay or performance so prevented). The affected
                        Party shall use commercially reasonable efforts to minimize and remediate the cause of non-
                        performance and resume performance upon removal of such cause. This Agreement shall be
                        governed by and construed under the laws of the State of New York of the United States of
                        America, without reference to conflicts of law principles that may require application of the
                        law of any other state. Any action arising out of or related to this Agreement shall be initiated
                        and maintained in a forum of competent jurisdiction within New York County, New York, and
                        the Parties irrevocably agree to the exclusive jurisdiction of the federal and state courts located
                        in the State of New York.

                     G. Interpretation; Severability; Counterparts. This Agreement is the product of negotiations
                        between the Parties, and any rules of construction relating to interpretation against the drafter
                        of this Agreement, or any provision herein, shall not apply to this Agreement and are expressly
                        waived. The headings of sections and subsections in this Agreement are for convenience of
                        reference only and are not intended to restrict, affect or otherwise influence the interpretation
                        or construction of this Agreement. Signatures that are transmitted electronically or by facsimile
                        will have the same effect as original signatures. In the event that any provision of this
                        Agreement is held invalid or unenforceable by a court or other governmental authority of
                        competent jurisdiction, the Parties shall endeavor in good faith to agree to such amendments
                        that will preserve, as far as possible, the intentions expressed in this Agreement. If the Parties
                        fail to agree on such an amendment, such invalid term, condition or provision will be severed
                        from the remaining terms, conditions and provisions, which will continue to be valid and
                        enforceable to the fullest extent permitted by law and the invalid or unenforceable term shall
                        be deemed replaced by a term that is valid and enforceable and that comes closest to expressing
                        the intention of such invalid or unenforceable term. FURTHER, IT IS EXPRESSLY
                        UNDERSTOOD AND AGREED THAT IN THE EVENT ANY REMEDY UNDER THIS
                        AGREEMENT IS DETERMINED TO HAVE FAILED OF ITS ESSENTIAL PURPOSE,
                        ALL LIMITATIONS OF LIABILITY AND EXCLUSIONS OF DAMAGES OR OTHER




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                          REMEDIES REMAIN IN EFFECT. This Agreement may be executed in multiple
                          counterparts, each of which shall be deemed an original and all of which together shall
                          constitute one instrument.

                     H. Expenses. All expenses, including all legal, accounting, financial, advisory, consulting, and
                        other fees incurred in connection with the negotiation or effectuation of this Agreement will be
                        the obligation of the respective Party incurring such expenses, unless (and only to the extent)
                        the Parties may expressly agree otherwise in writing.

                     I.   Notices; Amendment; Modification; Waiver. All notices and other communications hereunder
                          (including any consents) shall be in writing and shall be deemed effective when (i) delivered
                          personally, (ii) 3 business days after being mailed by first class mail, postage prepaid, or 1
                          business day after being sent by a reputable overnight delivery service, postage or delivery
                          charges prepaid, to the Parties at their respective addresses stated in this Agreement. Notices
                          also may be given to NFLPA, NFLPI, and OneTeam by electronic mail and will be effective
                          on the date transmitted if confirmed by a signed original sent in the manner provided in the
                          preceding sentence. Copies of notices to Licensor shall also be sent to NFL Players Inc., 1133
                          20th Street NW, Washington, DC 20036 Attn: Corporate Counsel and OneTeam Partners, LLC
                          1901 L Street, NW 7th Floor, Washington, DC 20036 Attention Chief Legal Officer. Notices
                          to Licensee shall be sent to the address listed on page 1 of this Agreement, ATTN: Jason
                          Robins, with a copy, which shall not constitute notice, to the address listed on page 1 of this
                          Agreement, ATTN: Stanton Dodge. This Agreement may be amended, modified or
                          supplemented by the Parties but only in a writing that is signed by a duly authorized
                          representative of each Party. No waiver by a Party with respect to this Agreement will be
                          effective or enforceable against a Party unless in writing and signed by that Party. Except as
                          otherwise expressly provided herein, no failure to exercise, delay in exercising, or single or
                          partial exercise of any right, power or remedy by a Party, and no course of dealing between or
                          among any of the Parties, will constitute a waiver of, or will preclude any other or further
                          exercise of the same or any other right, power or remedy.

                     J. Further Assurances. Each of the Parties hereto shall, and shall cause its respective affiliates to,
                        from time to time at the request of the other Party, without any additional consideration, furnish
                        the other Party such further information or assurances, execute and deliver such additional
                        documents, instruments and conveyances, and take such other actions and do such other things,
                        as may be reasonably necessary or appropriate to carry out the provisions of this Agreement
                        and give effect to the transactions contemplated hereby.

                     K. ; Entire Agreement. This Agreement (including, without limitation, all Exhibits attached
                        hereto) sets forth the entire agreement and understanding of the Parties relating to the subject
                        matter herein and merges all prior discussions between them. Notwithstanding anything herein
                        to the contrary, in the event of a conflict between the terms of Sections 1 to 14 of this Agreement
                        on the one hand, and the Standard Terms on the other hand, the terms of Sections 1 to 14 of
                        this Agreement will supersede and control.

                14. DK PLAYER RESERVE. NFLPA, NFLPI, and OneTeam acknowledge that DraftKings Inc. has
                    established DK Player Reserve LLC as a legally separate and independent subsidiary for the sole
                    purpose of holding and managing a segregated account (within the meaning of 940 C.M.R. 34.00)
                    restricted to funds owned by DraftKings Inc. players (the “Segregated Account”). The sole purpose
                    of the Segregated Account shall be to hold customer deposits and player winnings. NFLPA, NFLPI,
                    and OneTeam hereby acknowledge and agree that funds in the Segregated Account are properties
                    of DK Player Reserve LLC and do not belong to DraftKings Inc. and shall not be available to pay




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                    any of the claims of NFLPA, NFLPI, and/or OneTeam. Notwithstanding the foregoing, DraftKings
                    Inc. acknowledges and agrees that:

                     A. DK Player Reserve LLC has no rights under the Agreement including, but not limited to, any
                         rights to use the Licensed Materials (and DraftKings Inc. hereby undertakes to Licensor that
                         DK Player Reserve LLC shall not use the Licensed Materials); and

                     B. DraftKings Inc. shall not be entitled to transfer, assign, sublicense, subcontract or otherwise
                        seek to dispose of its rights or obligations under this Agreement and/or this Agreement to DK
                        Player Reserve LLC, and that any such transfer, assignment, sublicense, subcontract or disposal
                        shall be deemed a material breach of the Agreement.

                                                    [SIGNATURE PAGE FOLLOWS]

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            NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and agreements contained
            herein, NFLPA, NFLPI, OneTeam and Licensee, intending to be legally bound, hereby execute this
            Agreement as of the Effective Date and agree as set forth in this Agreement:


                  NATIONAL FOOTBALL LEAGUE PLAYERS DRAFTKINGS INC.
                  INCORPORATED


                  By: ______________________________________          By: _________________________________
                                    Steven Scebelo
                                                                                    Jason Robins
                  Name: _________________________________             Name: ______________________________

                                         President                                       CEO DraftKings
                  Title: __________________________________           Title: _______________________________



                  NATIONAL FOOTBALL LEAGUE PLAYERS ONETEAM PARTNERS, LLC
                  ASSOCIATION


                  By: ______________________________________          By: ______________________________

                                 Teri Smith                                      Henry Lowenfels
                  Name: _________________________________             Name: ______________________________

                                      Chief Operating Officer                          Chief Product Officer
                  Title: __________________________________           Title: _______________________________




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                                                             Exhibit A

                                                    Reporting Statement Template



            Total Net Revenue and Royalties, by Access Method and Player
            Total Gross Sales
            First Sales
            Secondary Sales
            First Net Revenue
            Second Net Revenue
            Per Unit Sales by Player
            Transaction Fees actually charged
            Full accounting of Deductions
            Units/Packs




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                                                             Exhibit B

                                    NFLPI Style Guide - to be found at the following address:

              https://nflpaweb.blob.core.windows.net/website/Departments/Players-Inc/FY22-NFLPA-Style-
                                                       Guide.pdf




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                                                             Exhibit C

                                                             RESERVED




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                                                             Exhibit D

                                                    LICENSEE STANDARD TERMS

                     I.      Introduction

                      The NFL Players Association and NFL Players Incorporated (collectively referred to herein as “
              NFLPA”) are committed to conducting their business affairs in a socially responsible and ethical manner
              consistent with their respective missions. In furtherance of this commitment, the NFLPA requires that all
              licensees of NFLPA licensed product adhere to the following Licensee Standard Terms (the “Terms”).

                     II.     Application

                      These Terms shall apply to all Licensees and Licensee Affiliates. “Licensee” shall include
              any person or entity who has entered into a written license agreement with NFLPA (“License”).
              “Licensee Affiliates” shall include Licensee’s parent organization, subsidiaries, affiliates, officers,
              directors, or any other related entities throughout the world which create, produce, assemble,
              package, distribute, promote and/or sell materials pursuant to the Licensed Products contemplated
              herein (“Licensed Products”). As a condition of being permitted to produce and/or sell Licensed
              Products, each Licensee must comply, and shall cause all Licensee Affiliates to comply, with these
              Terms and the NFLPA’s Online Distribution Policy which is fully integrated into these Terms and may be
              found here: https://www.nflpa.com/players/nfl-players-inc-online-distribution-policy. Further, by
              entering into a License with NFLPA, Licensee represents that it is in compliance with these Terms. In
              the event that Licensee has failed to materially comply with these Terms, then NFLPA may provide
              written notice to Licensee including a reasonable description of such non-compliance and, in the
              event Licensee has not cured such non-compliance within thirty (30) days, may either terminate the
              License or require that Licensee implement a corrective action plan on terms acceptable to NFLPA.

                     III.    Standards

                     Licensee and Licensee Affiliates agree to operate work places and contract with companies
              whose work places adhere to the standards and practices described below.

                     1. Legal Compliance. Licensee and Licensee Affiliates must materially comply with all
                        applicable legal requirements of the jurisdiction in which it conducts its business and
                        business related to or involving the creation, production, assembly, packaging,
                        distribution, promotion and/or sale of Licensed Products. Where there are differences or
                        conflicts with the Terms and the laws of the jurisdiction, the higher standard shall prevail.
                        Licensed Products shallnot be manufactured or produced in any manner that is inconsistent
                        with these Terms.

                     2. [reserved]

                     3. [reserved]

                     4. Employment Standards. Licensee and Licensee Affiliates shall comply with the following
                        employment standards:




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                         A. Wages and Benefits: Licensee shall pay employees, at a minimum, wages and benefits
                            which comply with all applicable laws and regulations of the jurisdiction in which
                            Licensee conducts its business.

                         B. Child Labor: The use of child labor is not permissible in any circumstance.
                            Workers must be at least fourteen (14) years of age unless the laws of the applicable
                            jurisdiction where the work is to be performed requires a higher legal minimum
                            working age.

                         C. Forced Labor: The use of forced labor and prison labor is not permissible in any
                            circumstance. Labor supplied by prisoners working within the United States
                            pursuant to a lawfully authorized work programsponsored by the U.S. government
                            or State government will only be permissible if the Licensee obtains NFLPA’s prior
                            written consent.

                         D. Freedom of Association and Collective Bargaining: Licensee shall recognize and
                            respect the right of employees’ freedom of association and collective bargaining. No
                            Licensee shall harass, intimidate, or retaliate against employees who freely associate
                            or bargain collectively. Licensees shall not cooperate with any organizations that
                            prevent workers from organizing a union of their choice. Licensee shall allow union
                            organizers free access to employees. Licensee shall recognize the union of the
                            employees’ choice.

                         E. Health and Safety: Licensee must provide workers with a safe and healthy work
                            environment. The health and safety of workers is subject to Title 29 CFR of the Federal
                            Terms of Regulations, enforced by Federal OSHA (Occupational Safety and Health
                            Administration).

                         F. Nondiscrimination: Licensee shall take commercially reasonable steps to prevent
                            discrimination by Licensee as it relates to hiring, salary, benefits, advancement,
                            discipline, termination or retirement, on the basis of gender, race, religion, age,
                            disability, sexual orientation, nationality, political opinion, social or ethnic origin, or
                            otherwise.

                         G. Harassment or Abuse: Licensee shall treat all employees and persons involved in the
                            creation, production, assembly, packaging, distribution, and/or sale of Licensed
                            Products with dignity and respect. In no event shall Licensee cause or knowingl y
                            permit any person to be subject to any physical, sexual, psychological, or verbal
                            harassment or abuse.

                         H. Legal System: Licensed Products bearing the name, trademarks, or images of NFLPA shall
                            not be manufactured or produced in any jurisdiction, mutually agreed to by Licensor and
                            NFLPA in good faith, where changes to the legal system of such jurisdiction would prevent
                            NFLPA from protecting its name, trademarks, images, or other interests, or from
                            implementing any provision of these Terms.

                         I.   Political, Economic, Social Environment: Licensed Products shall not be manufactured or
                              produced in any jurisdictions in which such activities would violate the U.S. Department
                              of Treasury Office of Foreign Assets Control sanctions programs.




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                     IV.       Sales Guidelines

                     All materials created pursuant to the License or in connection with the Licensed Products are
            subject to review and approval by NFLPA prior to use. NFLPA in its sole discretion, retains the right
            to disapprove any materials deemed to suggest an endorsement by the NFLPA and/or NFL players, or that
            reflects unfavorably upon the NFLPA and/or NFL players. Specifically, the NFLPA retains the right to
            disapprove any materials that promote or otherwise reference certain prohibited categories, including, but
            not limited to:

                           A. Illegal products and services
                           B. Alcohol and tobacco products
                           C. Illegal Lotteries/Illegal Gambling goods and services
                           D. Social cause/issue advocacy
                           E. Dietary/Nutritional supplements and products
                           F. Other pharmaceuticals




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Electronic Record and Signature Disclosure:
   Accepted: 11/19/2021 4:34:59 PM
   ID: 701019ae-b85d-407a-84de-63f0cb81a91f

Steven Scebelo                                                                                Sent: 11/19/2021 4:35:11 PM
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Electronic Record and Signature Disclosure:
   Accepted: 11/19/2021 4:48:10 PM
   ID: efa42f15-6ee1-42a2-bad7-e26a9664772e

Teri Smith                                                                                    Sent: 11/19/2021 4:53:53 PM
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Chief Operating Officer                                                                       Signed: 11/19/2021 5:05:27 PM
Security Level: Email, Account Authentication
(None)                                          Signature Adoption: Pre-selected Style
                                                Using IP Address: 73.163.174.31


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   Accepted: 11/19/2021 5:01:28 PM
   ID: 034fdaa5-40b3-4440-962e-7798ea929cf9

Henry Lowenfels                                                                               Sent: 11/19/2021 5:05:30 PM
                                                                                              Viewed: 11/19/2021 5:38:50 PM
Chief Product Officer                                                                         Signed: 11/19/2021 5:39:24 PM
OneTeam
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(None)                                          Using IP Address: 73.58.200.215
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Electronic Record and Signature Disclosure:
   Accepted: 11/19/2021 5:38:50 PM
   ID: 28ed4d87-a8cf-405d-b87d-36f480040c18


In Person Signer Events                         Signature                                     Timestamp
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Editor Delivery Events                          Status                            Timestamp

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Michael Hermalyn                                                                  Sent: 11/19/2021 5:39:27 PM


Security Level: Email, Account Authentication
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Electronic Record and Signature Disclosure:
   Accepted: 11/19/2021 4:12:54 PM
   ID: a76aa72f-8d16-4b50-87d8-d7bfe495e4fc

Asa Miller                                                                        Sent: 11/19/2021 5:39:28 PM


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Ezra Kucharz                                                                      Sent: 11/19/2021 5:39:29 PM


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   ID: ef37259a-1219-4947-9ee1-3051b0e9ee2a

Sean Sansiveri                                                                    Sent: 11/19/2021 5:39:31 PM
                                                                                  Viewed: 11/19/2021 5:47:56 PM
Security Level: Email, Account Authentication
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Notary Events                                   Signature                         Timestamp

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Envelope Sent                                   Hashed/Encrypted                  11/19/2021 4:32:59 PM
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Envelope Summary Events                Status                            Timestamps
Certified Delivered                    Security Checked                  11/19/2021 5:38:50 PM
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Electronic Record and Signature Disclosure created on: 4/23/2019 9:52:42 AM
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Parties agreed to: Jason Robins, Steven Scebelo, Teri Smith, Henry Lowenfels, Michael Hermalyn, Ezra Kucharz




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